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                             UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                   SOUTHERN DIVISION
11
     UNITED STATES OF AMERICA,               No. SA CR 16-014-JLS
12
                Plaintiff,                   PERSONAL MONEY JUDGMENT OF
13                                           FORFEITURE
                     v.
14
     LINDA MARTIN,
15
                Defendant.
16

17
          Pursuant to the Stipulation and request of the parties filed in
18
     this matter on July 12, 2018, the Court hereby finds and orders as
19
     follows:
20
          1.    On January 18, 2016, defendant Linda Martin entered into a
21
     plea agreement in the case captioned United States v. Linda Martin,
22
     No. SA CR 16-014-JLS, pursuant to which she agreed to plead guilty to
23
     conspiracy, in violation of 18 U.S.C. § 371.         (CR 6 at ¶ 2(a).)
24
     Defendant Martin further agreed to forfeit the proceeds she obtained
25
     as a result of the offense to which she entered the guilty plea.
26
     (Id. at ¶ 3(a).)
27

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 1        2.   Defendant Martin has stipulated to the entry of this

 2   Personal Money Judgment of Forfeiture (the “Money Judgment”) in the

 3   amount of $200,000.

 4        3.   The entry of this Money Judgment is specifically authorized

 5   by Rule 32.2 of the Federal Rules of Criminal Procedure and is part

 6   of the defendant’s sentence.      Rule 32.2(c)(1) provides that “no

 7   ancillary proceeding is required to the extent that the forfeiture

 8   consists of a money judgment.”

 9        4.   Pursuant to the stipulation, defendant Martin expressly

10   waived the requirements of Federal Rules of Criminal Procedure 32.2.

11   and 43(a) regarding notice of forfeiture in the charging instrument,

12   pronouncement of forfeiture at sentencing, and incorporation of

13   forfeiture in the personal money judgment of forfeiture.           Defendant

14   Martin further agreed to immediate entry of the Judgment, and that

15   the personal money judgment of forfeiture shall become final as to

16   defendant Canedo upon entry.

17        5.   This Money Judgment is part of the sentence imposed on

18   defendant Martin in this case.

19        6.   A money judgment in the amount of $200,000 is HEREBY

20   ENTERED in favor of the United States of America and against

21   defendant Linda Martin.

22   //

23   //

24   //

25   //

26   //

27   //

28   //
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 1        7.   This Court shall retain jurisdiction for the purpose of

 2   enforcing this Money Judgment.

 3        IT IS SO ORDERED.

 4

 5
     July 13, 2018
 6   DATE                                   HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
 7

 8   Presented by:

 9        /s/
     SCOTT D. TENLEY
10   Assistant United States Attorney

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